
DUBINA, Circuit Judge:
Sierra Club brought this action against the Army Corps of Engineers (“Corps”) after the Corps granted Rinker Materials and other mining concerns (“Miners”) Clean Water Act (“CWA”) permits. 33 U.S.C. § 1251 et seq. The Miners sought to extract high-quality limestone from the “Lake Belt” area — a stretch of wetlands between the Florida Everglades and the northwest edge of metropolitan Miami. To mine the Lake Belt wetlands, however, the Miners had to first secure CWA permits from the Corps. The Corps, in reviewing whether to issue permits, had to follow procedures required by the National Environmental Policy Act (“NEPA”), 42 U.S.C. § 4321 et seq., Endangered Species Act (“ESA”), 16 U.S.C. § 1531 et seq., and CWA. After the Corps granted the permits, Sierra Club brought suit, alleging inter alia that in granting the permits the Corps performed its NEPA, ESA, and CWA duties arbitrarily and capriciously in violation of the Administrative Procedure Act (“APA”), 5 U.S.C. § 706. The Miners intervened as defendants, and all parties moved for summary judgment. The district court granted the Appellees’ motion and found that, for numerous reasons, the Miners’ permits were due to be vacated. This appeal followed. After reviewing the voluminous record, reading the parties’ briefs, and having the benefit of oral argument, we vacate the district court’s grant of summary judgment and remand this case to the district court to apply the proper APA standard of review to the Corps’s environmental analysis.

I. Background

South Florida’s Lake Belt comprises 60,-000 acres of wetlands just east of Ever*1357glades National Park and northwest of metropolitan Miami. The Miners own a substantial portion of the Lake Belt and wish to mine their lands. In the late 1990s, at the Miners’ urging, the Corps investigated the propriety of issuing 50-year CWA permits to mine 15,800 acres of the Lake Belt. In 1999, the Corps issued a draft Environmental Impact Statement (“EIS”) pursuant to NEPA, which recognized the proposed project’s negative environmental impacts. The Corps took public comment on the draft, and critics, including multiple federal agencies, raised serious environmental, technical, and legal concerns. Nonetheless, the Corps issued a final EIS the following year largely following the draft EIS. In the final EIS the Corps noted that environmental effects could be mitigated by placing special permit conditions on the Miners. For example, one suggested permit condition contemplated a percentage of mining profits be used to purchase wetlands in the “Pennsuco” area, adjacent to the Lake Belt, for public conservation.
After issuing the final EIS, the Corps released a CWA “public notice” that it planned to issue the mining permits. Part of the notice indicated that the Corps would not engage in ESA “formal consultation” with the U.S. Fish and Wildlife Service (“FWS”) because the Corps determined that issuing the permits would have no effect on any species protected by the ESA. The public and several federal agencies heavily criticized the public notice. In particular, the FWS refused to concur in the Corps’s “no effect” determination because FWS concluded that the mining might have a detrimental impact on the ESA-protected wood stork. The FWS therefore requested that formal consultation begin between FWS and the Corps.
Also after the EIS, the Corps received information regarding the Northwest Well-field — Miami-Dade County’s primary source of drinking water — and the Pennsuco wetlands. The information showed that the Northwest Wellfield was far more vulnerable to mining-related contamination than was known at the time the Corps approved the permits. The information showed that property values had risen in the Pennsuco area, such that the mitigation contemplated by the EIS — purchasing wetlands for public conservation to replace the destroyed Lake Belt wetlands- — was no longer economically feasible.
In 2001, the Corps responded to the overwhelming criticism and new information by limiting the permits, issuing a new public notice suggesting 10-year permits covering only 5,000 acres. This limited proposal also received heavy criticism, including the same FWS criticism regarding the impact on the wood stork. Responding to FWS’s concerns, the Corps drafted a biological assessment (“BA”) concluding that the Lake Belt mining would have no effect on the wood stork because the wood storks that formerly foraged in the Lake Belt area had shifted locations. In 2001, the FWS accepted the Corps’s BA and concurred in the Corps’s “no effect” finding.
The Appellees requested that the Corps draft a supplemental EIS (“SEIS”) to address the new information and criticisms, and then reevaluate the permits. The Corps instead granted the 10-year permits in a final Record of Decision (“ROD”). The ROD described the criticisms and new information, but in the end found that the more-limited mining plan would have no significant effects not already discussed in the EIS.1
*1358Shortly after the ROD, the Appellees brought this suit against the Corps challenging the permits. The Miners intervened, and eventually the parties all moved for summary judgment. The court granted the Appellees’ motions for summary judgment on several claims and their voluntary motions to dismiss their other claims. The court then “REMANDED to the [Corps] for further development, [but] retained jurisdiction for the purpose of determining an appropriate remedy.” DE 73 at 186 (hereinafter “Summary Judgment Order”). After the court entered judgment, the Corps moved to dismiss as moot the claims relating to ESA formal consultation with the FWS because the Corps and FWS subsequently engaged in formal consultation related to the Lake Belt permits’ effect on the wood stork— the only ESA relief Appellees sought. The Corps otherwise followed the court’s judgment, and began work on an SEIS to address the issues the court had raised.
The court denied the motion to dismiss and entered a “Remedies Order” supplementing the Summary Judgment Order and addressing remedies. DE 372; DE 387. The court held that the permits must be vacated, but stayed the vacatur of some permits pending the Corps’s release of its SEIS. Specifically, the court stayed the vacatur of any permits licensing mining outside the “60-day range” of the Northwest Wellfield.2 The Miners appealed. The Corps did not appeal, choosing instead to comply with the district court’s judgment and to appear in this appeal as amicus curiae.

II. Jurisdiction

Putting aside the other jurisdictional grounds asserted, we conclude that we have “injunction” jurisdiction over this case under 28 U.S.C. § 1292(a)(1). For an order to be appealable pursuant to § 1292(a)(1), it must be a clear and understandable directive from the district court, it must be enforceable through contempt proceedings, and it must give some or all of the substantive relief sought in the complaint. Alabama v. U.S. Army Corps of Eng’rs, 424 F.3d 1117, 1128 (11th Cir.2005). The district court’s Remedies Order contains clear, enforceable directives that Sierra Club requested in its complaint. See DE 387 at 103-04 (issuing specific orders to Miners);. DE 26 at 53 (requesting injunctive relief in amended complaint). For example, the court stated:
In other words, all devegetating, demucking, scraping, blasting, and harvesting of limestone from the aquifer must stop in [the 60-day range] immediately (no later than 5:00 p.m. on Tuesday, July 17, 2007).
DE 387 at 103; see also id. at 103-04 (ordering cessation of other activity specific to each mining company). Sierra Club points to the district court’s express declaration that it was not issuing an injunction, DE 387 at 31 n. 71, but we conclude this is an instance where substance should control over form. The district court issued commands of such specificity and breadth that no litigant would dare violate them. If the Miners had violated the commands, the district court could have initiated contempt proceedings, and it is not clear to us that the court would accept “But you said *1359it wasn’t an injunction” as a defense. “In short, we adhere to the time-tested adage: if it walks like a duck, quacks like a duck, and looks like a duck, then it’s a duck.” BMC Indus., Inc. v. Barth Indus., Inc., 160 F.3d 1322, 1337 (11th Cir.1998) (Tjoflat, J.).
We furthermore accept pendent jurisdiction over the district court’s grant of summary judgment. Like in Cable Holdings of Battlefield, Inc. v. Cooke, 764 F.2d 1466, 1472 (11th Cir.1985), the summary judgment grant provided the basis for the injunction. “Consequently, we cannot properly exercise our jurisdiction under § 1292(a)(1) without also reviewing the grant of partial summary judgment.” Id.

III. Merits Discussion

The Summary Judgment Order and its supplemental Remedies Order together span 363 pages containing 617 footnotes. DE 73; DE 387. We commend the district judge for his thorough analysis, but the Orders must be vacated and the case remanded because he failed to grant the Corps the level of deference contemplated by the APA. Though other portions of the district court’s analysis may be correct, and may alone support a finding that the Corps acted in an arbitrary and capricious manner, the district court made clear that it remanded to the Corps because of the “cumulative effect” of the Corps’s errors. DE 73 at 183-84. On remand the district court should review the Corps’s environmental analysis using the proper level of deference, and again determine whether the cumulative effect of any errors requires vacating the permits.

A. Judgments Underlying the Injunction

First, we must determine precisely which judgments we must address. The four claims in Sierra Club’s amended complaint on which the district court granted summary judgment were, in short: an APA-CWA claim against the Corps, because the Corps erroneously held that no practicable alternatives existed, because the Corps improperly balanced the project’s benefits and detriments, and because the Corps failed to hold a public hearing, (Claim I); an ESA claim against the Corps, because the Corps’s BA erroneously concluded that the mining would have no impact on the endangered wood stork, (Claim III); an APA-ESA claim against FWS for concurring in the Corps’s no impact determination, (Claim IV); and an APA-NEPA claim against the Corps, because the EIS failed to meet NEPA’s requirements, (Claim V). After the district court granted summary judgment, but before the court issued the Remedies Order, the Corps and FWS undertook ESA formal consultation — the only relief Sierra Club requested for Claims III and IV. It was therefore improper for the district court to rely on those Claims’ judgments in crafting a remedy; the claims were moot.3 Thus, the district court could rely only on its judgments on Claims I and V— APA-CWA and APA-NEPA judgments against the Corps — in issuing the injunction. We therefore review those judgments.

B. Standard of Review

The APA provides for judicial review of agency decisions like the Corps’s *1360decision to grant CWA permits to the Miners and the Corps’s NEPA decisions during the permitting process. “The reviewing court shall ... hold unlawful and set aside agency action, findings, and conclusions found to be ... arbitrary, capricious, an abuse of discretion, or otherwise not in accordance with law [or found to be] without observance of procedure required by law.” 5 U.S.C. § 706(2). “[T]his standard is exceedingly deferential.” Fund for Animals, Inc. v. Rice, 85 F.3d 535, 541 (11th Cir.1996). The court’s role is to ensure that the agency came to a rational conclusion, “not to conduct its own investigation and substitute its own judgment for the administrative agency’s decision.” Preserve Endangered Areas of Cobb’s History, Inc. (“PEACH”) v. U.S. Army Corps of Eng’rs, 87 F.3d 1242, 1246 (11th Cir.1996).

C. NEPA

NEPA establishes procedures that a federal agency must follow before taking any action. The agency initially must determine whether the action to be taken constitutes a “major Federal action” — that is, an action “significantly affecting the quality of the human environment.” 42 U.S.C. § 4332(C); see 40 C.F.R. § 1508.18 (“Major reinforces but does not have a meaning independent of significantly .... ”). If the agency determines that a proposed activity is a “major Federal action,” the agency must discuss certain issues in a detailed statement — the EIS. Id. On the other hand, if the agency determines that a proposed activity is not a “major Federal action,” it must produce a “finding of no significant impact” (“FONSI”), a document “briefly presenting the reasons why an action ... will not have a significant effect on the human environment.” 40 C.F.R. § 1508.13.
In some cases, after an agency publishes a FONSI or an EIS, but before any action is taken, the proposed action changes, or the agency receives additional information. In that situation, the agency must make an additional NEPA determination: the agency must determine whether the changes create, or the information reveals, significant effects on the quality of the human environment not previously considered. Marsh v. Or. Natural Res. Council, 490 U.S. 360, 374, 109 S.Ct. 1851, 1859, 104 L.Ed.2d 377 (1989); see also 40 C.F.R. § 1502.9(c)(1). If new, significant effects are shown, the agency must prepare an SEIS. 40 C.F.R. § 1502.9(c)(1). When the change to the proposed action is a “minimizing measure,” however, the agency “is not automatically required to redo the entire environmental analysis.” Sierra Club v. U.S. Army Corps of Eng’rs, 295 F.3d 1209, 1221 (11th Cir.2002). This is because a minimizing measure’s effects on the environment will usually fall within the scope of the original NEPA analysis. See id. (holding that road realignment to minimize environmental impact was within the scope of original EIS).
NEPA only requires that an agency follow this procedure; it does not mandate any particular result. “If the adverse environmental effects of the proposed action are adequately identified and evaluated, the agency is not constrained by NEPA from deciding that other values outweigh the environmental costs.” Robertson v. Methow Valley Citizens Council, 490 U.S. 332, 350, 109 S.Ct. 1835, 1846, 104 L.Ed.2d 351 (1989). Moreover, an agency’s NEPA decisions are only reviewed under the APA’s highly deferential standard. Id.; Dep’t of Transp. v. Pub. Citizen, 541 U.S. 752, 763, 124 S.Ct. 2204, 2213, 159 L.Ed.2d 60 (2004); Vt. Yankee Nuclear Power Corp. v. Natural Res. Def. Council, Inc., 435 U.S. 519, 548, 98 S.Ct. 1197, 1214, 55 L.Ed.2d 460 (1978).
Here, the Corps originally studied the propriety of issuing 50-year permits. *1361Because the Corps found that issuing those permits would be a “major Federal action,” it prepared an EIS. AR 614. After severe criticism — specifically, objections regarding the possible contamination of the Northwest Wellfield and possible detrimental effect on the protected wood stork — the Corps adopted a minimizing measure: it reduced the permits’ duration to 10 years and limited the permits’ acreage. After adopting the minimizing measure and receiving the new information, the Corps issued a FONSI, AR 1028 at 113, best read as an addendum to the 50-year EIS, rejecting the notion that the new information and change in the project were such that an SEIS was required. Three NEPA issues were therefore before the district court: (1) whether the Corps’s determination that the 10-year permits would have no significant effect outside the scope of the original EIS was arbitrary, capricious, or an abuse of discretion, AR 1028 (environmental assessment containing Corps’s FONSI); (2) whether the Corps’s determination that new information regarding contamination of the Northwest Wellfield and effects on the wood stork did not necessitate an SEIS was arbitrary, capricious, or an abuse of discretion, AR 1028; and (3) whether the 50-year permit EIS met NEPA’s requirements, AR 614.
A court can only find a federal agency’s attempted NEPA compliance inadequate where it is arbitrary, capricious, or an abuse of discretion in violation of the APA. Vt. Yankee, 435 U.S. at 548, 98 S.Ct. 1197. This standard requires substantial deference to the agency, not only when reviewing decisions like what evidence to find credible and whether to issue a FONSI or EIS, but also when reviewing drafting decisions like how much discussion to include on each topic, and how much data is necessary to fully address each issue. The district court here frequently condemned Corps actions based on simple disagreement, rather than based on a finding that the actions violated the APA’s deferential standard.4
Moreover, NEPA is procedural, setting forth no substantive limits on agency decision-making. Robertson, 490 U.S. at 350, 109 S.Ct. 1835. Simply put, whether the federal agency ends up taking the “major Federal action” at issue has nothing to do with NEPA compliance; NEPA only requires that the agency follow a certain process in deciding whether to take the action. Id. In this case, it would not violate NEPA if the EIS noted that granting the permits would result in the permanent, irreversible destruction of *1362the entire Florida Everglades, but the Corps decided that economic benefits outweighed that negative environmental impact. That capricious decision might run afoul of a duty imposed by a different statute, but it would not violate any duty imposed by NEPA. Cf. id. at 350-51, 109 S.Ct. 1835 (“[I]t would not have violated NEPA if the Forest Service, after complying with the Act’s procedural prerequisites, had decided that the benefits to be derived from downhill skiing at Sandy Butte justified the issuance of a special use permit, notwithstanding the loss of 15 percent, 50 percent, or even 100 percent of the mule deer herd. Other statutes may impose substantive environmental obligations on federal agencies, but NEPA merely prohibits uninformed — rather than unwise' — agency action.” (footnote omitted)).
The district court’s NEPA analysis erroneously focuses on the Corps’s decision to take the major Federal action — granting the permits — and the adequacy of the mitigation measures on which the Corps conditioned the permits.5 Substantive issues like whether to grant the permits and what mitigation conditions to adopt are irrelevant to NEPA compliance. The following passage highlights the district court’s flawed belief that NEPA places substantive limits on federal action:
If these permits had been issued as fifty year permits, the Court would have invalidated the permits and directed the Corps to deny the permits (rather than simply remanding the case for further study). Such a conclusion would have been required under NEPA (and the CWA) because of the significant adverse effects and the Corps’ insufficient mitigation and other analyses.
DE 73 at 106 (emphasis added). NEPA can never provide grounds for a court to direct a federal agency’s substantive decision.
We offer no opinion as to whether the Corps complied with NEPA during the permitting process. We must, however, vacate the district court’s orders and remand for the NEPA issues to be decided *1363by the district court in the first instance because the court failed to grant the Corps the proper level of deference and because the court failed to recognize NEPA’s limited operation as a procedural, rather than substantive, command to federal agencies. On remand, the district court should address the issues with an eye toward the proper deferential APA standard and NEPA’s limited, procedural scope.

D. CWA

The same pervasive lack of deference infects the district court’s APA-CWA analysis.6 As with its NEPA analysis, the court failed to view the CWA claims through the deferential lens of the APA.7 The judgment on the CWA-APA claim also is vacated.

IV. Conclusion

The district court seems to have predetermined the answer to the ultimate issue, concluding that the Corps should not permit mining in the Lake Belt, and analyzed the permitting process with that answer in mind. Indeed, the court made its predetermination of the ultimate issue explicit in its conclusion:
Regardless, however, of whether new studies may soon indicate that the Aquifer is not being harmed by the mining activities, or that the groundwater seepage effects can be minimized, or even if a more probing analysis reveals that there truly are no practicable and environmentally preferable alternatives to mining in this precious resource, the Court’s conclusion would be unchanged.
DE 73 at 183. In other words, no matter what the Corps concluded, and no matter what evidence supported that conclusion, the court would have banned mining because of its own conclusion that mining in the Lake Belt is a bad thing. Id. at 184-85. The discretion to grant or deny CWA permits, however, is first given to federal agencies, not federal courts.
Again, we offer no opinion as to whether the Corps complied with NEPA or the CWA during the permitting process.8 We instead remand to the district *1364court to answer those questions in the first instance, applying the proper standard of review.9 The APA-CWA judgment, the APA-NEPA judgment, and the Remedies Order are vacated, and the case is remanded for further proceedings consistent with this opinion.
VACATED and REMANDED.

. The EIS recognized that mining 21,000 acres "will have an irreversible significant impact on the environmental resources of the region”; the ROD concluded that the permits *1358could issue because the more-limited mining "will not have a significant impact on the quality of the human environment.” AR 614 at 81; AR 1028 at 113 ("AR” refers to the administrative record, filed with the district court at DE 19). The only plausible reading of the ROD is that the limited mining "will not have a significant impact on the quality of the human environment” other than the impacts discussed in the EIS.


. The 60-day range is the area from which groundwater seepage can reach the Northwest Wellfield’s aquifer within 60 days.


. This is not to say that any defendants are entitled to the extraordinary remedy of vacatur of the ESA judgments against the Corps and FWS, an issue we do not reach. Though, as the Miners point out, there is no "summary judgment exception" to mootness, there is a summary judgment exception to dismissal — a judgment must be vacated before underlying claims can be dismissed. See generally U.S. Bancorp Mortgage Co. v. Bonner Mall P’ship, 513 U.S. 18, 115 S.Ct. 386, 130 L.Ed.2d 233 (1994).


. E.g., DE 73 at 65 (holding that groundwater contamination was not “studied adequately” and the Corps was without "sufficient data”); id. at 67 ("Corps should have recognized that it lacked essential information and ... should have been more conservative as to [wellfield contamination] risks.”); id. at 69 (holding that Corps reliance on technical reports "more than twenty years old” rendered its wellfield contamination discussion inadequate; "[e]ven a non-scientist recognizes that this poses a problem in the ever-changing world of South Florida’s ecosystem”); id. at 70 (stating that "it was error for the Corps to have paid so little attention to [seepage]”); id. at 72 (holding Corps's discussion "far too vague to be in compliance with NEPA, and its open-endedness violates the requirement that permit conditions be 'reasonably enforceable’ — found in [a regulation unrelated to NEPA]”); id. at 90 (rejecting Corps's interpretation of data and drawing different conclusions); id. at 91 (dismissing Corps’s mitigation conclusion because "it appears” not enough Pennsuco wetlands will be available for mitigation); id. at 92-93 (holding Corps failed to disclose sufficient information); id. at 100-01 (rejecting Corps’s finding that a "no action” alternative was not economically feasible); id. at 101 n. 174 (making assumptions to support conclusions contrary to Corps’s conclusions); id. at 104 (criticizing discussion as "exceedingly brief”); id. at 112 (stating that "reliance by the Corps upon applicant-supplied reports ... must be subjected to special scrutiny”).


. E.g., DE 73 at 69 (criticizing Corps’s decision to grant the permits, and the lack of protections placed as conditions); id. at 77 ("The Court is troubled by the underlying theme of the Corps' ROD which suggests that the permits at issue have been designed to be extended to the full fifty year mining plan.”); id. at 78 (stating incorrectly that "Corps was required, by NEPA, to first attempt to avoid [EIS-discussed] impacts and then to minimize whatever was unavoidable, and, finally, to mitigate for any adverse affect” — substantive requirements); id. at 79 (stating incorrectly that "Mitigation ... has been interpreted to require a replacement of the functional value of the wetlands, that is, there should be no net loss of wetland values”); id. at 90 (deciding that the "Corps’ decisions runs [sic] counter to the evidence”); id. at 91 (expressing concern about adequacy of Pennsuco mitigation plan); id. at 92 (“The record before the Court suggests that the Corps did not comply with NEPA in preparing the EIS, nor in issuing the permits." (emphasis added)); id. at 95 (stating that "[i]f the wetlands are going to be destroyed, then mitigation for that loss is required” — a substantive requirement); id. at 96 (”[T]he Corps’ permitting decision — particularly the EIS — does not satisfy NEPA.” (emphasis added)); id. at 103 ("[T]he permits as issued ... are not the environmentally preferable alternative .... Thus, the Corps' decision was not in compliance with NEPA.”); id. at 104-05 (expressing dissatisfaction that the Corps intends to allow mining for full 50 years); id. at 109 (stating erroneously that "for purposes of the Corps’ NEPA analysis, environmental impacts are more important than economic ones, [sic] economic and social impacts have lesser importance than purely environmental or ecological impacts”); id. at 112-13 ("[Miners' economic] losses cannot be justification for the possible, even probable, deleterious environmental effects caused by the mining.”); id. at 114 (speculating that takings litigation "created a costly specter ... which may have spurred on the destruction of hundreds of acres of wetlands unnecessarily”).


. We reject the Miners’ argument that the APA does not apply to the Corps's performance of its CWA duties and that, as a result, the United States has not waived sovereign immunity as to the Corps. In Bennett v. Spear, 520 U.S. 154, 117 S.Ct. 1154, 137 L.Ed.2d 281 (1997), the Supreme Court rejected this argument in the ESA context, id. at 175, 117 S.Ct. 1154, and the relevant statutory language in the ESA is almost identical to the analogous portion of the CWA. Compare 16 U.S.C. § 1540(g)(1)(ESA), with 33 U.S.C. § 1365(a)(CWA). Moreover, the United States persuasively argues in its amicus brief that the APA waives sovereign immunity for Corps CWA decisions.


. E.g., DE 73 at 142 (reaching “opposite conclusion” based on "record evidence”); id. at 144 (criticizing Corps because “it appears that the Corps too quickly dismissed the alternative of 'no mining’ in the Lake Belt”); id. at 148 (“Corps made several assumptions, and none are adequately explained in the ROD or elsewhere in the administrative record”); id. at 150 (rejecting Corps’s conclusion that no practicable alternatives for limestone exist and instead concluding that “[t]he administrative record clearly establishes that, indeed, there are other sources”); id. at 154 ("Corps made a clear error of judgment in the analysis of practicable alternatives under the CWA due, in part, to the agency’s reliance on a study that should have been independently verified.”); id. at 157 (disagreeing with Corps's determination that the mining permits would not be contrary to the public interest); id. at 162 (holding Corps’s decision that public hearing was not required was an abuse of discretion).


.Our disagreement with Judge Kravitch is exceedingly narrow. The district court’s judgment is based on dozens of individual holdings, as is the injunction resting upon that judgment. Judge Kravitch suggests that by affirming a handful of individual holdings — holdings this opinion does not address — this Court can affirm the judgment and injunction in their entirety; we disagree. *1364The district court itself noted that “[ejven if one or two of the defects were not enough on their own to require remand of this matter [to the Corps], the cumulative effect of these irregularities makes it clear that further environmental analysis should have been conducted and a remand is necessary.” Summary Judgment Order at 184. Because the district court found many "irregularities” based on flawed analysis — a proposition with which Judge Kravitch agrees — the court did not properly know the "cumulative effect” when entering judgment and crafting a remedy. Rather than divining whether the district court would enter the same judgment and vast injunction given only a handful of its previous holdings, we think the better course is to vacate the judgment and remand for the district court to address the issues, applying the proper standard of review, in the first instance.


. The Miners move to have the case reassigned on remand. We have no reason to believe that the well-respected district judge to whom this case is assigned will not be able to apply the proper standard of review on remand. Furthermore, one element of the decision whether to reassign a case on remand is "whether reassignment would entail waste and duplication out of proportion to gains realized from reassignment.” United States v. Torkington, 874 F.2d 1441, 1447 (11th Cir.1989) (citing United States v. White, 846 F.2d 678, 696 (11th Cir.1988)). On remand, reassignment would entail substantial waste and duplication because another judge would need to become familiar with the massive record.

